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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: PHILIPS RECALLED CPAP, BI-
    LEVEL PAP, AND MECHANICAL
    VENTILATOR PRODUCTS LIABILITY                    Master Docket: Misc. No. 21-01230
    LITIGATION

    This Document Relates To:                        MDL No. 3014
    All Actions



         JOINT NOTICE OF UPDATED TIMELINE OF PERTINENT MDL DATES

         The parties jointly submit this updated timeline of upcoming deadlines in In Re: Philips

Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products Litigations (MDL No. 3014). 1

    Date                                        Event                                  ECF No.
     3/8/2024          Defendants to File Responses to Remand Motions                2386



     3/11/2024         Respironics’ Motion to Dismiss the Amended Master             2491, 2520
                       Personal Injury Complaint 2

     3/21/2024         Economic Loss Class Action Settlement: Motion for             2289
                       Final Approval
     3/28/2024         Economic Loss Class Action Settlement: Response to            2289
                       Objections to Settlement
     4/8/2024          Plaintiffs to File Replies in Support of Remand Motions       2386


     4/10/2024         Plaintiffs’ Response to Respironics’ Motion to Dismiss        2491
                       Amended Master Personal Injury Complaint




1
        The Parties intend this notice to be a reference resource for the Court. The Parties do not
intend this notice and the summaries of the deadlines to supersede the terms in the Court’s orders.
2
        The deadline for the PolyTech Defendants to answer the Complaint is stayed pending
further order of the Court following the Court’s ruling on Respironics’ motion. ECF No. 2520.
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Date                                    Event                                    ECF No.
 4/10/2024      Respironics’    Supplemental     Brief   Addressing            2521, 2534
                Respironics’ Motion to Dismiss Second Amended Class
                Action Complaint for Medical Monitoring
 4/11/2024      Economic Loss Class Action Settlement: Final Fairness          2289
                Hearing
 4/24/2024      Respironics’ Reply in Support of Motion to Dismiss             2491
                Amended Master Personal Injury Complaint

 4/30/2024      Personal Injury Claims: Conclusion of general causation        2355
                fact discovery.

                Medical Monitoring Class Action: Conclusion of all fact
                discovery related to class certification, including Party
                and non-party fact depositions.
 5/28/2024      Plaintiffs’ Supplemental Responsive Brief Addressing           2521, 2534
                Respironics’ Motion to Dismiss Second Amended Class
                Action Complaint for Medical Monitoring
 5/30/2024      Personal Injury Claims: Plaintiff’s Rule 26(a)(2) expert       2355
                disclosures on general causation.

                Medical Monitoring Class Action: Plaintiffs’ Rule
                26(a)(2) expert disclosures relevant to class certification.
 6/12/2024      Respironics’ Supplemental Reply Brief Addressing               2521, 2534
                Respironics’ Motion to Dismiss Second Amended Class
                Action Complaint for Medical Monitoring
 7/30/2024      Personal Injury Claims: Defendants’ Rule 26(a)(2) expert       2355
                disclosures on general causation.

                Conclusion of generally-applicable fact discovery,
                including Defendant and non-party depositions (this
                deadline does not include case-specific fact discovery).

                Medical Monitoring Class Action: Defendants’ Rule
                26(a)(2) expert disclosures relevant to class certification.
 8/9/2024       Economic Loss Class Action Settlement: Claims Period           2289
                Deadline




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Date                                       Event                              ECF No.
 8/30/2024      Parties to submit stipulated or completing proposals for    2355
                selection of individual bellwether personal injury cases.

                Plaintiffs’ Rule 26(a)(2) rebuttal expert disclosures on
                general causation.

                Medical Monitoring Class Action: Plaintiffs’ Rule
                26(a)(2) rebuttal disclosures relevant to class
                certification.
 10/30/2024     Personal Injury Claims: Deadline to complete expert         2355
                depositions on general causation.

                Medical Monitoring Class Action: Deadline to complete
                expert depositions relevant to class certification.
 12/2/2024      Personal Injury Claims: Deadline to file Rule               2355
                702/Daubert motions on general causation experts.

                Medical Monitoring Class Action: Deadline to file Rule
                702/Daubert motions on class certification issues.
 1/17/2025      Personal Injury Claims: Deadline for Parties to file        2355
                oppositions to Rule 702/Daubert motions on general
                causation experts.

                Medical Monitoring Class Action: Deadline to file Rule
                702/Daubert oppositions on class certification issues.



 2/18/2025      Personal Injury Claims: Deadline for reply briefs on Rule   2355
                702/Daubert Motions on general causation.

                Medical Monitoring Class Action: Deadline to file reply
                briefs on Rule 702/Daubert motions on class certification
                issues.
 3/2025 or      Personal Injury Claims: Potential hearing date on Rule      2355
 4/2025         702/Daubert motions on general causation, subject to
                Court’s scheduling

                Medical Monitoring Class Action: Potential hearing date
                for Rule 702/Daubert motions on class certification
                experts, subject to Court’s scheduling




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          Pursuant to Pretrial Order #28 (ECF No. 783), the following procedures and deadlines

apply to the Amended Master Personal Injury Complaint and Individual Short Form Personal

Injury Complaints.

                    Date                                             Event
     Within sixty (60) days of the date
    on which the Court issues a ruling
                                           Deadline for Defendant to file a Master Answer to the
       as to its motion to dismiss the
                                           Amended Master Personal Injury Complaint.
     Amended Master Personal Injury
                 Complaint 3
     Within forty-five (45) days of the
     date on which the Court issues a
    ruling granting Plaintiffs’ Co-Lead    Deadline for Plaintiffs’ Co-Lead Counsel to file a Second
        Counsel leave to amend the         Amended Master Personal Injury Complaint
     Amended Master Personal Injury
                  Complaint
                                           Deadline for Personal Injury Plaintiffs to upload their
    Within fourteen (14) days of filing    Short Form Complaint to the online MDL Centrality
        a Short Form Complaint             System accessible at www.mdlcentrality.com/ pursuant
                                           to Pretrial Order # 27
     Within twenty-one (21) days after
                                           Deadline for any Personal Injury Plaintiff, who has filed
     service of the Master Answers to
                                           a Short Form Complaint, to amend the same for any
      the Amended Master Personal
                                           reason
     Injury Complaint by Defendants
                                           Deadline for any Personal Injury Plaintiff, who files a
     Within twenty-one (21) days after     Short Form Complaint after the filing of the Master
     service of Short Form Complaint       Answers to the Amended Master Personal Injury
                                           Complaint, to amend the same for any reason
     Within twenty-one (21) days after     Deadline for any Personal Injury Plaintiff, whose case is
     selection for inclusion in the pool   subsequently chosen for inclusion in the pool from
    from which bellwether cases are to     which bellwether cases are to be selected, to amend his
                 be selected               or her Short Form Complaint

    Date: February 28, 2024                            Respectfully submitted,

    /s/ John P. Lavelle, Jr.                           /s/ Kelly K. Iverson
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       If a motion to dismiss the Amended Master Personal Injury Complaint does not result in
the dismissal of the Amended Master Personal Injury Complaint in its entirety, and provided that
the Court does not grant leave to amend the Amended Master Personal Injury Complaint.


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